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IN THE US DISTRICT COURT FOR THE
MIDDLE DISTRICT OF PENNSYLVANIA

 

JASON COOPER and NATALIE COOPER, h/w — :
609 Fox Hound Way, Apt. 1D : CIVIL ACTION —- LAW

Fort Wayne, IN 46804, : No.
Plaintiffs,
vs.

MIDDLE SMITHFIELD TOWNSHIP,
individually and d/b/a
COUNTRY CLUB OF THE POCONOS
AT BIG RIDGE
147 Municipal Drive
East Stroudsburg, PA 18302,
Defendant.

Civil Action Complaint

1, Plaintiff, Jason Cooper (hereinafter, “Plaintiff’), is an adult individual who resides
at the above referenced address, At all times relevant to this action, Plaintiff is and continues to be
a resident of the State of Indiana.

Dy Plaintiff, Natalie Cooper, (hereinafter, “Plaintiff Wife”), is an adult individual who
resides at the above referenced address. At all times relevant to this action, Plaintiff Wife is and
continues to be a resident of the State of Indiana.

3. At all relevant times, Plaintiff, Jason Cooper and Plaintiff, Natalie Cooper
(hereinafter, ““Plaintiffs’) were and continue to be legally married.

4. Defendant, Middle Smithfield Township, individually and d/b/a Country Club of

the Poconos at Big Ridge (hereinafter “Defendant Golf Course”) is a township of the second class,

organized under, existing pursuant to and recognized by the Commonwealth of Pennsylvania, with
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a principal place of business located at the above referenced address located in Monroe County,
Pennsylvania.

o) Neither of the Plaintiffs is from the same state as the Defendant and the value of
the matter in controversy exceeds, exclusive of interest and costs, the sum specified by 28 U.S.C.
§ 1332. Therefore, this Court has jurisdiction of this action pursuant to complete diversity of
citizenship among the parties under 28 U.S.C. § 1332.

6. At all times relevant hereto, Defendant Golf Course, directly and/or by and through
its agents, ostensible agents, servants, borrowed servants, workmen, employees and/or
subcontractors, owned, possessed, managed, designed, constructed, maintained, operated and/or
controlled a golf course and country club known as Country Club of the Poconos at Big Ridge
located at the above referenced address in Monroe County, Pennsylvania, including its golf carts,
golf cart paths, golf cart routes, guide ropes, rules and regulations, golf course holes, tees, fairways,
greens, roughs, signs, walkways, ground pavings, ground coverings, landscaping, trees, foliage,
hills, retaining walls, and buildings (hereinafter, referred to as the ““Premises’’).

Ve At all material times hereto, Defendant Golf Course, directly and/or by and through
its agents, ostensible agents, servants, borrowed servants, workmen, employees and/or
subcontractors, acting within the scope and authority of their relationships with Defendant Golf
Course, acted and/or failed to act in the care, custody, control, ownership, possession,

management, construction, design, maintenance, and/or operation of the Premises.

8. On or about October 22, 2020, Plaintiff was lawfully upon the Premises as a fee
paying golfer.
9. At all times relevant hereto, Plaintiff was a business invitee of Defendant Golf

Course, and as such was owed the highest duty of care by Defendant Golf Course.
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10. At the aforesaid time and location, Plaintiff, who had just taken his second shot on
the Golf Course’s first hole, was operating one of Defendant Golf Course’s golf carts, with all due
caution and care, following the guide rope to move closer to where his golf ball had landed, when
suddenly and without warning the golf cart began to fishtail out of control and violently smashed
into a tree, resulting in debilitating serious injuries to Plaintiff.

11. Upon information and belief, at all times relevant hereto, the Golf Cart was
registered to and owned by Defendant Golf Course.

aon At all times relevant hereto, Plaintiff was operating the Golf Cart with Defendant
Golf Course’s express permission.

ler At the aforesaid time and location, Defendant Golf Course had a “90 degree rule”
in effect, mandating that golfers, in the position of Plaintiff, only operate golf carts at a 90 degree
angle between the cart path and the fairway.

14. At the aforesaid time and location, Defendant Golf Course had installed guide
ropes, including the above referenced guide rope which Plaintiff followed, to restrict the routes
upon which golfers in the position of Plaintiff could operate golf carts.

Lee At the aforesaid time and location, the golf cart route Defendant Golf Course
mandated by implementing the 90 degree rule and the installation of guide ropes, was down a steep
embankment, covered with wet leaves and slick stone, and led directly to a wooded knoll.

16. Prior to October 20, 2020, Defendant Golf Course, directly and/or by and through
its agents, ostensible agents, servants, borrowed servants, workmen, employees and/or
subcontractors, acting within the scope and authority of such relationships, managed, designed,
constructed, maintained, installed, inspected, and controlled the aforesaid designated golf cart

route.
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17. At all times relevant hereto, the aforesaid designated golf cart route together with
its aforesaid characteristics and leaf covered conditions constituted an unreasonable hazard of the
Premises.

18, At all times relevant hereto, the unreasonably hazardous designated golf cart route
with its aforesaid characteristics and leaf covered conditions, were not readily detectable by golfers
in the position of Plaintiff,

19. Upon information and belief, at all times relevant, the unreasonably hazardous
designated golf cart route, with its aforesaid characteristics and leaf covered conditions, was
managed, designed, constructed, maintained, installed, inspected, and controlled by Defendant
Golf Course, directly and/or by and through its agents, ostensible agents, servants, borrowed
servants, workmen, employees and/or subcontractors, acting within the scope and authority of their
respective relationships with Defendant Golf Course.

20. At the time of aforesaid crash (hereinafter, the “Crash”), and for a long and/or
excessive time prior thereto, Defendant Golf Course, directly and/or by and through its agents,
ostensible agents, servants, borrowed servants, workmen, employees and/or subcontractors, acting
within the scope and authority of their relationships with Defendant Golf Course, negligently and
carelessly managed, designed, constructed, maintained, installed, inspected, and controlled the
Premises so as to create and/or allow the unreasonably hazardous designated golf cart route, with
its aforesaid characteristics and leaf covered conditions.

21. At the aforesaid time and place, the designated golf cart route, with its aforesaid
characteristics and leaf covered conditions, was an unreasonably dangerous condition of the

Premises, directly caused by Defendant Golf Course’s negligence and carelessness.
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22. The unreasonably hazardous designated golf cart route, with its aforesaid
characteristics and leaf covered conditions, constituted a reasonably foreseeable risk of harm for
golfers in the position of Plaintiff.

25k Defendant Golf Course had actual and/or constructive notice of the existence of the
unreasonably hazardous designated golf cart route, with its aforesaid characteristics and leaf
covered conditions, for a sufficient time prior to Plaintiff's Crash to have taken measures to correct
it and/or to properly warn golfers in the position of Plaintiff.

24, At no time relevant to the Crash was there any warning or notice to golfers in the
position of Plaintiff of the existence of the unreasonably hazardous designated golf cart route with
its aforesaid characteristics and leaf covered conditions.

25. Asa direct and proximate result of Crash, Plaintiff has suffered and may in the
future continue to suffer severe, permanent, and debilitating personal injuries.

26. The Crash was caused directly and proximately as a result of Defendant Golf
Course’s negligent and careless care, custody or control of the Premises in the possession of
Defendant Golf Course, as set forth more fully herein.

an, As a direct and proximate result of Defendant Golf Course’s negligence and
carelessness, and the aforesaid Crash, Plaintiff has suffered and may in the future continue to
suffer: bodily injuries including a radial fracture of his right wrist, medial collateral and anterior
cruciate ligament tears to his right knee; severe pain; anxiety, depression, emotional and mental
distress; humiliation and embarrassment; and/or loss of pleasures and enjoyment of life, and one
or more serious and permanent impairments of bodily functions.

28. As a direct and proximate result of Defendant Golf Course’s negligence and

carelessness, the aforesaid Crash, and Plaintiffs resulting injuries, Plaintiff has undergone and
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may in the future undergo various reasonable and necessary medical treatments, including open
reduction, internal fixation of his fracture and multiple surgeries.

29, As a direct and proximate result of Defendant Golf Course’s negligence and
carelessness, the aforesaid Crash, and Plaintiffs resulting injuries, Plaintiff has been and/or may
in the future be required to spend money for medical treatment in an effort to treat and cure himself
of the injuries he sustained.

30. As a direct and proximate result of Defendant Golf Course’s negligence and
carelessness, the aforesaid Crash, and Plaintiff’s resulting injuries, Plaintiff has been and may in
the future be hindered and/or prevented from attending to and/or fully performing his usual and
customary duties, hobbies and/or avocations.

Bilis As a direct and proximate result of Defendant Golf Course’s negligence and
carelessness, the aforesaid Crash, and Plaintiffs resulting injuries, Plaintiff has been and/or in the
future may be required to spend money for household help.

Dias As a direct and proximate result of Defendant Golf Course’s negligence and
carelessness, the aforesaid Crash, and Plaintiffs resulting injuries, Plaintiff has been and/or in the
future may be prevented from being gainfully employed, resulting in a loss of earnings and/or an
impairment of his earning capacity.

a8. At all times relevant hereto, Plaintiff was exercising due care and caution for his
safety and in no manner contributed to the Crash or his resulting injuries.

Count I - Negligence
Jason Cooper v. Middle Smithfield Township, individually and
d/b/a Country Club of the Poconos at Big Ridge
34, Plaintiff incorporates herein, by reference, the averments in the preceding

paragraphs, as well as all subsequent paragraphs as though the same were fully set forth herein.
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The negligence and carelessness of Defendant Golf Course included:

h.

creating a hazardous condition about which it knew or should have known;
permitting the hazardous condition to exist for an excessive period of time:

failing to regularly and/or properly inspect the Premises for such hazardous
conditions;

failing to warn golfers in the position of Plaintiff of the hazardous conditions;

failing to take reasonable measures under the circumstances to protect in the
position of Plaintiff from a foreseeable risk of injury;

failing to protect Plaintiff against the hazardous designated golf cart route with
its aforesaid characteristics and leaf covered conditions when Defendant Golf
Course knew and/or should have known of the unreasonably risk to golfers in
the position of Plaintiff;

failing to properly maintain the Premises such that a hazardous condition were
created and remained for an unreasonable period of time when it posed a
foreseeable risk to golfers in the position of Plaintiff;

failing to properly remediate the hazardous designated golf cart route with its
aforesaid characteristics and leaf covered conditions;

violating Defendant Golf Course’s own safety requirements with regard to
inspection, and/or maintenance of the Premises, including its designated golf
cart routes;

hiring, contracting, supervising, training and/or controlling Defendant Golf
Course’s agents, ostensible agents, servants, borrowed servants, workmen,
employees and/or subcontractors for the care, custody and control of the
Premises who were not qualified to do so in a safe and adequate manner;

supervising, training, and/or controlling said Defendant Golf Course’s agents,
ostensible agents, servants, borrowed servants, workmen and/or employees in
their performance and/or completing of the care, custody and control of the
Premises, in a reasonably safe and prudent manner;
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1. failing to properly inspect the condition of the Premises to ensure that they were
managed, designed, constructed, maintained, installed, inspected, and
controlled; and

m. failing to ensure that the Premises in the care, custody and control of Defendant
Golf Course, including its designated golf cart routes, were safe for the activities
for which they were regularly used and intended to be used.

36. Defendant Golf Course’s aforesaid negligent. care, custody and control of the
Premises caused the Premises to be unsafe for the activities for which they were regularly used
and falls within the real estate exception to Pennsylvania’s Political Subdivisions Tort Claims Act,
42 Pa.C.S.A. §8542(b)(3).

WHEREFORE, Plaintiff, Jason Cooper, demands judgment in his favor and against

Defendant Golf Course, in an amount in excess of One Hundred Fifty Thousand Dollars

($150,000.00), exclusive of interest and costs and with such further relief as this Court may deem

 

 

appropriate.
Count II -Loss of Consortium
Natalie Cooper v. v. Middle Smithfield Township, individually and
d/b/a Country Club of the Poconos at Big Ridge
34. Plaintiff Wife incorporates herein, by reference, the averments in the preceding

paragraphs, as well as all subsequent paragraphs as though the same were fully set forth herein.
35. Asadirect and proximate result of the negligence and carelessness of the Defendant
Golf Course, and Plaintiffs resulting injuries, Plaintiff Wife suffered and may in the future suffer
the loss of aid, assistance, and comfort of her spouse.
36. As a direct and proximate result of the negligence and carelessness of Defendant
Golf Course, and Plaintiff's resulting injuries, Plaintiff Wife has expended and may in the future

expend specific time, care and/or treatment to her spouse.
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WHEREFORE, Plaintiff, Natalie Cooper, demands judgment in her favor and against
Defendant Golf Course, in an amount in excess of One Hundred Fifty Thousand Dollars

($150,000.00), exclusive of interest and costs and with such further relief as this Court may deem

appropriate.
OSTROFF LAW, PC
Attorneys for Plaintiffs
Date: 01/12/2022 __ By:__/s/Ryan F. Michaleski

 

Ryan F. Michaleski, Esquire

Attorney No. 203923

518 E. Township Line Road, Suite 100
Blue Bell, PA 19422

610-279-7000
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Verification

The undersigned, plaintiff in this action, verifies that the within pleading is based upon
information furnished to counsel, which has been gathered by counsel in the preparation of this
lawsuit. The language of the attached pleading is that of counsel and not of signor. Signor ceriiies
that the within pleading, as prepared by counsel, is true and correct to the best of signor=s
knowledge, information and belief. To the extent that the contents of the within pleading are that
of counsel, signor has relied upon counsel in taking this verification.

This verification is made subject to the penalties of 18 Pa.C.S.A. Section 4904 relating to

unsworn falsification to authorities,

 
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FREDCISCO SUTTON ’~
Plaintiff
